         Case 4:19-cr-00613-LPR Document 62 Filed 11/19/21 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
              v.                                    )      No. 4:19CR00613-LPR
                                                    )
JAMES POWELL                                        )


                            MOTION TO DISMISS INDICTMENT

       Comes now the United States of America, by and through its counsel, Jonathan D. Ross,

United States Attorney for the Eastern District of Arkansas, and Stacy R. Williams, Assistant

United States Attorney, and moves the Court to dismiss the Indictment in this case.


                                                   JONATHAN D. ROSS
                                                   United States Attorney


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